       Case 2:18-cv-01698-RJC Document 356 Filed 02/14/22 Page 1 of 5




                     IN THE UNITED STATES DISTRICT COURT

                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

HORACE CLAIBORNE, SONJIA                    CIVIL ACTION
MONIQUE BOWLIN, TYSHAWN
WALKER, DEZRAE KAUHANE, WILLIE              No. 2:18-cv-01698-RJC
SEALS, FREDERICK EPPICH, JEROME
SCHOOLFIELD, KRISTINA TRAVIS,
JEREMY WINKELS, DANIEL
FORRESTER, MARK DAVID GRIFFETH,
DOUGLAS RUSSELL, KENNETH
BURTON, GERALD GENSOLI, and
THOMAS DEPPIESSE, on behalf of
themselves and others similarly situated,

             Plaintiffs,

v.

FEDEX GROUND PACKAGE SYSTEM, INC.,

             Defendant.



DEFENDANT FEDEX GROUND PACKAGE SYSTEM, INC.’S OPPOSED MOTION TO
DISMISS WITH PREJUDICE DISCOVERY OPT-INS, FROM THE INITIAL 500, WHO
  FAILED TO COMPLY WITH THE COURT’S DECEMBER 7, 2021, DISCOVERY
                             ORDER
         Case 2:18-cv-01698-RJC Document 356 Filed 02/14/22 Page 2 of 5




       On December 7, 2021, the Court granted Defendant FedEx Ground’s unopposed motion

to compel compliance with the Court’s September 15, 2021, case management order, stating

those opt-in Plaintiffs who failed to “provide complete questionnaire responses and complete

document productions within 30 days of entry” of the order “may be dismissed with prejudice.”

(See ECF 321 (Order).) FedEx Ground now moves to dismiss with prejudice those opt-in

Plaintiffs who failed to provide complete questionnaire responses and document productions by

the January 6, 2022, deadline, and still have not through the date of the filing of this motion

(giving them even additional time).

                               CERTIFICATE OF CONFERRAL

       FedEx Ground’s counsel and Plaintiffs’ counsel have conferred on these issues a number

of times. Plaintiffs take the position that if a discovery opt-in has at least attempted to participate

in discovery, either by submitting an incomplete questionnaire or incomplete document

production (or both), that those individuals should not be dismissed from the case. Plaintiffs

therefore oppose the relief requested herein.




                                                   1
        Case 2:18-cv-01698-RJC Document 356 Filed 02/14/22 Page 3 of 5




Dated: February 14, 2022            Respectfully submitted,



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                                      2
        Case 2:18-cv-01698-RJC Document 356 Filed 02/14/22 Page 4 of 5




                        CERTIFICATE OF SERVICE (CM/ECF)

        I HEREBY CERTIFY that on February 14, 2022, I electronically filed the foregoing
DEFENDANT FEDEX GROUND PACKAGE SYSTEM, INC.’S OPPOSED MOTION
TO DISMISS WITH PREJUDICE DISCOVERY OPT-INS, FROM THE INITIAL 500,
WHO FAILED TO COMPLY WITH THE COURT’S DECEMBER 7, 2021,
DISCOVERY ORDER with the Clerk of Court using the CM/ECF system which will send
notification of such filing to the following email addresses:

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                                    s/ David J. Schaller
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                                       2
